Case 1:07-cr-00006-PLM         ECF No. 638, PageID.4096          Filed 10/16/15     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 1:07-CR-06-03

v.                                                         HON. ROBERT HOLMES BELL

JONATHON KEITH BURKEEN,

            Defendant.
______________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Jonathon Keith Burkeen has filed a motion for modification or reduction of

sentence (ECF No. 559) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the

United States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on September 8, 2015 (ECF

No. 635). In its report, the probation department recommended the defendant is eligible for

reduction in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the

guideline calculations, and the guideline range applicable to the defendant subsequently has been
Case 1:07-cr-00006-PLM          ECF No. 638, PageID.4097           Filed 10/16/15      Page 2 of 2




lowered as a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction

of sentence is consistent with the policy statements of the U.S. Sentencing Commission. Counsel

for the defendant filed a response to the sentence modification report (ECF No. 636) concurring with

the report. Counsel for the government filed a response to the sentence modification report (ECF

No. 637) also concurring with the recommendation of the probation department.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 559) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Jonathon

Keith Burkeen's sentence shall be reduced to 144 months imprisonment, effective November 1,

2015. An order effectuating the sentence reduction shall issue forthwith.




Dated: October 16, 2015                          /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
